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>`MCaSe 2:14-cV-O4448-DDP-.]CG Document 1 Filed 06/10/14 Page 1 of 12 Page |D #:
Tyesha Jac§son Wise §
2057 W 65 Street s UW: 1
Los Angeles, CA 90047 zant 11111 1@ 11 `
(323) 306-4965 w v \» w _ `
§w\ h ii 1 x b q . w QB
Pro Se M_,,,,,
y w "M,,/
UNITES STATES DISTRICT C(§WURWT”
CENTRAL DISTRICT CF CALIFORNIA
TYESHA JACKsoN WIsE, Cas
P1aintiff,
VS COMPLAINT AND DEMAND FOR
` JURY TRIAL
ALLY BANK° (UNLAWFUL DEBT COLLECTION
Defendant PRACTICES)
VERIFIED COMPLAINT
TYESHA JACKSON WISE (“Plaintift"), alleges the following against ALLY BANK,
(“Defendant”): `

INTRODUCTION
1. Count 1 of the Plaintiffs’ Complaint is based on Rosenthal Fair Debt Collection
Practices Act, Cal Cz'v. Code §] 788 et Seq. (RFDCPA).
Count 11 of the Plaintiffs’ Complaint is based on the Telephone Consumer Protection
Act, 47 U.S.C. 227 et seq. (TCPA).
JURISDICTION AND VENUE

3. Jurisdiction of this court arises pursuant to 15 U.S. C. 1692k(d), Which states that such

actions may be brought and heard before “any appropriate United States district court

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VERIFIED COMPLAINT
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C1efk, US Dtstréct Court
COURT 4612

 

 

 

 

 

 

 

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Without regard to the amount in controversy,” and 28 U.S. C. 1 3 6 7 grants this court
supplemental jurisdiction over the state claims contained therein Jurisdiction of this
court arises pursuant to 28 U.S.C. § 1331
Defendant conducts business in the state of Calit"ornia, and therefore, personal
jurisdiction is established
Venue is proper pursuant to 28 U.S.C. 1391 ¢_1))(2).
PAR'I`IES

Plaintit`f is a natural person residing in Los Angeles, Los Angeles County, Calil"ornia.
Defendant is a debt collector as that term is defined by 15 U.S. C. 1692¢1(6) and Cal.
Cz'v. Code §1788,2(€).
Defendant is a company located in Southtield, Michigan.
Defendant acted through its agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and
insurers

FACTUAL ALLEGA'I`I()NS
BetWeen l\/larch 2014 and April 2014, Defendant began placing telephone calls to

Plaintift" s cell phone

. Upon information and belief, Defendant is placing calls to Plaintit`f’s cell phone in an

attempt to collect a debt allegedly owed by l`yesha lackson Wise (“Plaintifi”).
On l\/larch 11, 2014, Deit`endant called PlaintifF s cellular telephone four times, using
artificial and/or prerecorded voice technology to coerce payment of alleged debt, With

the intent to annoy, abuse or harass Plaintiff. Plaintiff asked Det`endant to stop calling

-2-
VERIFIED COMPLAI'NT

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and remove her telephone number On l\/larch 13, 2014 Defendant called Plaintift” s
cellular telephone Plaintiff asked ALLY BANK representative, Aurelia, to stop
calling and advised her of the TCPA and RFDCPA violations On April 21, 2014,
Plaintiff faxed a letter to Det`endant again informing Defendant to stop calling
Plaintift"s cell phone in attempts to collect a consumer debt. See copy of letter and fax
continuation attached hereto as Exhibit A.
13. Despite the aforementioned notice, Defendant continued to place telephone calls,
using an automated dialer, to Plaintiff regarding an alleged debt
C()UNT 1
DEFENDANT VIOLA'I`ED THE ROSENTHAL FAIR DEBT COLLECTION
PRAC'I`ICES ACT
14. Defendant violated the RFDCPA based on the following:
a. Violation of § 1 788.11(¢1) of the RFDCPA by causing Plaintiffs’ telephone
to ring repeatedly and continuously so as to annoy and harass Plaintiff.
b, Violation of§1788.11(e) of the RFDCPA by placing collection calls to
Plaintiff With such frequency that was unreasonable and constituted
harassment
c. Violation of the § 1 788.17 of the RFDCPA by continuously failing to
comply with the statutory regulations contained With the FDCPA, 15
US.C. § 1692 et seq.
WHEREFORE, Plaintiff TYESHA JACKSON WISE respectfully request

judgment be entered against Defendant ALLY BANK, for the following:

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VERIFIED COl\/lPLAlN'l`

 

 

 

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15. Statutory damages of 81,000.00 pursuant to the Rosenthal Fair Debt Collection
Practices Act, Cal. Cz'v. Code §1 788.30(1)),

16. Costs pursuant to the Rosenthal Fair Debt Collection Practices Act, Cal. Cz'v. Coa'e
§1788,30({;), and

1 ‘7. Any other relief that this llonnrahle Court deems appropriate

C{)UN'E` 11
DEFENDANT VI()LAT`EU THE TELEPHON'E CONSUMPIR PRO'I`ECTION ACT

18. Plaintit`f repeats and realleges all of the allegations in Count l of Plaintil`t"s Complaint
as the allegations in Count 11 of Plaintift"s Complaint.

191 Defendant initiated at least seventy-nine (79) telephone calls to Plaintifl.`s telephone
line, in Which l)efendant used, controlled and or operated “autornatic telephone
dialing systems” as defined by § 227(a)(l) of the TCPA.

20. Defendant initiated at least sixty (60) telephone calls to Plaiutifl"’s cellular telephone,
after consent had been revoked, in violation of §227(b)(l)(A)(iii).

WHEREFGRE,, Plaintif‘l" TYESHA J'ACKSON WlSlE respectfully request
judgment be entered

against Det"elidarit ALL`Y BANK for the following

21. Statutory damages ot` 890,000.00 (31500 per call), pursuant to the Telephone
Consumer Protection Act, 4 7 U.S.C. 22 7b(3)(B).

22. Costs pursuant to the Telephone Consumer Protection Act, 4 7 U.S.C. 2271)(3)(13).

23. Any other relief that this llonorable Court deems appropriate

I)EMAND FOR JUR.Y TRIAL

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Case 2:14-cV-O4448-DDP-.]CG Document 1 Filed 06/10/14 Page 5 of 12 Page |D #:!'

C&S€.

DATED: lune 10, 2014

`\/’i.`€ llll"

 

 

PLEASE TAKE NOTICE that Plai.ntit`t` "l`YESHA JACKSON WISE, demands a jury trial in this

1913 Cle’ll»ll. AlNl

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RESPECTFULLY SUBMITTED,

  

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Case 2:14-cV-O4448-DDP-.]CG Document 1 Filed 06/10/14 Page 6 of 12 Page |D #:3

VERIFICATION ()F C()MPLAINT AND CERTIFICATION
STA"l`E OF CALIFGRNlA

Plaintit`f T`YESHA JACKS()N WISE states as follows:

ssa

1 am the Plaintitf in this civil proceeding

2. l have prepared the above entitled civil Cornplaint and l believe that all of the facts
contained in it are true, to the best ot` my knowledge

3. l believe that this civil Cornplaint is Well grounded in fact and warranted by existing law
or by a good faith argument t`or the extension9 modification or reversal of existing law.

4. l believe that this civil Complaint is not interposed for any improper purpose, such as to
harass any Defendant(s), cause unnecessary delay to any Defendant(s), named in the
Complaint.

5. I have filed this Complaint in good faith and solely for the purposes set forth in it.

Pursuant to 28 U.S.C. § 1746(2), l, TYESHA JACKSON WISE, hereby declare (or
certify, verify or state) under penalty of perjury that the foregoing is true and correct

DATE; h/ 10/ 151 l

        

 

 

15.
VERlFlED C(§l\/li’l.All\l'l`

 

 

 

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TRANSACTI ON REPORT

APR/21/2014/MON 03:04 PM

 

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F\'om:

Phono:

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Company Na mea

To:

Phone

Fa><:

Company Name;

Comments:

jackson Wlse, Tyesha

(323) 306-4965
(3 \o) 248-4664

LEGAL DEPARTMENT

(am) 790-5000
(3 l 6) 652~6349
ALLY BAN\<

Accouu'r women osm s 92-5640§

10 PAGES! TOTAL, |NCLUD|NG FAX COVER SHEET

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4/21/2014

 

 

 

Case 2:14-cV-O4448-DDP-.]CG Document 1 Filed 06/10/14 Page 8 of 12 Page |D #:8

>Fax

4/21/2014
§:z~om: jackson Wise, Tyesha
Ph©ne: (323) 306-4965
Fa><; (310) 248-4664

Coznpany i'\éame:

`l“o: LEGAL DEPARTMENT
?hone: (801) 790-5000

Fa><: (3|6) 652-6349
Corri§)any Name: ALLY BANK
Comments:

ACCOUNT NUMBER 061*9192-56409

10 PAGES TOTAL, lNCLUDlNG FAX COVER SHEET

Urgent For Review m P\ease Comment P|ease Reply l:] Please Recyc|e

E;d/il bill /Ai

 

Case 2:14-cv-O4448-DDP-.]CG Document 1 Filed 06/10/14 Page 9 of 12 Page |D #:9

April 21, 2014

ALLY BANK

Suite 201

300 Galleria Office Centre
l\/lC: 480-300-226
Southfield, Ml 48034

REZ ACCOUNT 061-9192*56409

Dear Representative:

` Between l\/larch 201/l and Apri| 2014, l have been harassed via cell phone by A|ly Bank regarding
Account l\lumber 061~9192-56409. l have received 38 calls and have advised the representatives on
several occasions to stop calling. The representatives have ignored my requests and continue to call my
cell phone repeatedly, in violation of the TCPA.

This letter serves as my request for equitable relief. l am providing ALLY BANK the opportunity to make a
written offer of settlement of this claim within 30 days. lt you fail to make a good faith offer of
settlement, l Will file the attached complaint in federal court

I may be reached via U.S. I\/lail at:

Tyesha Jackson Wise

2057 vv 65"‘ street

Los Ange|es, CA 90047

Sincere|y,

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Tyes lacks ise

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“Case 2:14-cv-O4448-DDP-.]CG Document 1 Filed 06/10/14 Page 10 of 12 Page |D #:10

UN|TED STATES`D|STRICT COURT, CENTRAL DISTRiCT OF CALIFORN|A

 

 

 

 

 

ClVlL COVER SHEET
l. (a) FLAINTlFFS ( Checl< box if you are representing yourself ) DEFENDANTS (Check box if you are representing yourself ij )
TYESHA JACKSON W|SE ALLY BANK
(b) Courity of Residence of First Listed Piaintiff LGS ANGELES County of Residence of First i_isted Defendant
(EXCEPTIN U.S. PLAINTIFF CA$ES) (lN U.S. PLA/NT/FF CA$ES ONLY)
(c) Attorneys (Firm Name, Address and Te/ephone Number) if you are Attorneys (Firm Name, Address and Telephone Number) if you are
representing yourself, provide the same information representing yourseif, provide the same information
TYESHA JACKSON WlSE (323) 306~4965
2057 W 6STH STREET
LGS ANGELES, CA 90047
ll. BAS|S CF JUR|SDICT|CN (Place an X in one box Oniy_) lll. ClT|ZENSHlP OF PR|NC|PAL PART|ES~For Diversity Cases Gniy
(Place an X in one box for plaintiff and one for defendant)
1. U.S. Government i:i 3. Federai Question (U.S. C;tizen ofThiS State EF 1 §Fq incorporated Or Prlnclpal PlaC€ EF 4 [§F 4
Piaintiff Governrnent Not a Party) °f BUS'"eSS m th‘$ grate

Citizen ofAnother State ij 2 i:i 2 incorporated and PrincipaiPiace i:] 5 l:] 5
of Business in Another State

 

 

2. U.S. Government 4. Diversity (indicate Citizenship Citizen or Subject of a . .
Defendant g of Parties in item i|i) Foreign Country m 3 m 3 F°'e'gn Nat'°“ ij 6 l:l 6
|V. CRlGiN (P|ace an X in one box oniy.) 6 M |t,_
1. Originai 2. Removed from [::] 3. Remanded from l:l 4. Reinstated or m S.Transferred from Another :I 'Di:tr;€t
Proceeding State Court Appeiiate Court Reopened Di$ffi€f lSPeCif‘,/l Lit;gat;cn

 

V.REQuESTEDlN coMPLAlNT: JURY DEMAND: Yes § No lCheck"Yes"Onlyifdemandedin Complalnt.)

cLAss AcTioN under F.R.cv.P. 23: §Yes NQ § MoNEY oEiv\ANDED m coMPLAINT: $ 91,000

VI. CAUSE CF ACT|ON (Cite the U.S. Civii Statute under which you are filing and write a brief statement of cause. Do not citejurisdictionai statutes unless diversity.)
47 U.S.C. 227, CA Civ. Cocie 1788 - Defendant violated RFDCPA and TCPA

 

  
     
        

    
     

     

 
    
  

   
   
 
 
 
    

  
  

 
    
  

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CV~T| (06/14) ClVlL COVER SHEET Page 1 Of 3

 

 

 

 

 

*’Case 2:14-cv-O4448-DDP-.]CG Document 1 Filed 06/10/14 Page 11 of 12 Page |D #:11

UN|TED STATES D|STR|CT COURT, CENTRAL DlSTRlCT OF CALlFORN|A

ClVlL COVER SHEET

Vl\l. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance With the Court‘s General Orders, upon review by the Court of your Complaint or Notice of Removai.

 

from state court?

ij Yes No

lf "no, " skip to Question B. lf "yes," check the
box to the right that applies, enter the
corresponding division in response to
Question E, below, and continue from there

w mr
QUESTION B: ls the Uriited States, or
one of its agencies or employees,a
PLA|NTlFF in this action?

l:] Yes No

if "no, " skip to Question C. if "yes," answer
Question B.i, at right.

H',

i , , ` ,
it .
QUEST|ON C: is the United States, or
one of its agencies or employees,a
DEFENDANT in this action?

l:] Yes No

   

if "no, " skip to Question D. if "yes," answer
Question C.1, at right.

 

    
 

QUEST|ON A: Was this case removed ` '

 

 

 

[:l Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
l:] Orange Southern
l:l Riversiole or San Bemardino Eastern

 

B.1. Do 50% or more of the defendants who reside in
the district reside in Orange Co.?

-)

check one of the boxes to the right

 

YES. Your case will initially be assigned to the Southern Division
m Enter “Southern" in response to Question E, below, and continue
from there.

 

l:] NO. Continue to Question B.2.

 

B.Z. Do 50% or more of the defendants who reside in
the district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

check one of the boxes to the right

C.1. Do 50% or more of the plaintiffs who reside in the
district reside in Orange Co.?

->

check one of the boxes to the right

YES. Your case will initially be assigned to the Eastern Divisi`on.
[:| Enter "Eastern" in response to Question E, below, and continue
from there

 

NO Your case will initially be assigned to the Western Division.
l:| Enter "Westem" in response to Question E below, and continue
from there

YES. Your case will initially be assigned to the Southern Division.
\:l Enter "Southem"' in response to Question E, below, and continue
from there.

 

m NO. Continue to Question C.2.

 

 

indicate the location(s) in which 50% or more of plaintiffs who reside m this district
reside. (Check up to two boxes, or leave blank if none of these choices app ly)

C.2. Do 50% or more of the plaintiffs who reside in the
district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

-»

check one of the boxes to the right

YES. Your case will initially be assigned to the Eastern Division.
[:l Enter "Eastern" in response to Question E, beiow, and continue
from there.

 

 

NO. Your case will initially be assigned to the Western Division.
m Enter "Western" in response to Question E, below, and continue
from there.

 

 

ap

l:] Yes

 

indicate the |ocation(s) in which 50% or more of defendants who reside in this
distr{ict reside. (Check up to two boxes, or leave blank if none of these choices

D.‘i . is there at least one answer in Co|umn A?

if "yes," your case will initially be assigned to the
SOUTHERN DlVlSlON.
Enter "Southern" in response to Question E, below, and continue from there.

if "no," go to question D2 to the right.

Enter the initial division determined by Question A B C or D above -)

-No

->

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San l.uis Obispo counties?

 
 
   
 
 

D.2. ls there at least one answer in Co|umn B?

lf "no," your case Wil| be assigned to the WESTERN DiVlSiON,

      
     
   
   
     
  
   
     

l:] Yes No

if "yes," your case will initially be assigned to the
EASTERN DlVlSlON.

Enter "Eastern" in response to Question E, below.

Enter "Western" in response to Question E, below.

 

 

     

m Yes No

 

 

CV~71 (06/14)

 

ClVlL COVER SHEET

Page 2 of 3

 

“'“Case 2:14-cv-O4448-DDP-.]CG Document 1 Filed 06/10/14 Page 12 of 12 Page |D #:12

UN|TED ST.ATES DlSTR|CT COURT, CENTRAL D|STR|CT OF CAL|FORN|A

 

ClV|L COVER SHEET
lX(a). |DENTlCAL CASES: Has this action been previously filed in this court? NO ij YES
lf yes, list case number(s):
lX(b). RELATED CASES: ls this case related (as defined below) to any cases previously filed in this court? l:] NO YES

if yes, list case number(s): cv14-3837 DSF AGRX; 2;1 1Cv03503 DDP JCG

 

Civil cases are related vvhen they:

A. Arise from the same or closely related transactions, happening, or event;
l:] B. Cal| for determination of the same or substantially related or similar questions of law and fact; or
l:[ C. For other reasons Would entail substantial duplication of labor if heard by differentjudges.

Checl< all boxes that apply. That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases
related.

 

X. SlGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LlTLGAN'[`):

 

DATE: 6/10/14

 

l row
Notice to Counse|/Parties: The submission of this ivil Cover ;\i`teei is required by Local Rule 3-1. This Form CV~7l and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions see separate instruction sheet (CV-O71A).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action
All claims for health insurance benefits (Nledicare) under Title 18, Part A, of the Social Security Act, as amended. A|sr),
361 HlA include claims by hospitals, skilled nursing facilities, etc,, for certification as providers of services under the program
(42 U.S.C. i935FF(b))
862 Bl. All c)laims for "Black Lung" benefits under Title 4, Part B, of the Federa| Coal Mine Hea|th and Safety Act of 1969. (30 U.S.C.
923
863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))
All claims filed for widows or widowers insurance benefits based on disabili under Title 2 of the Social Securi Act as
863 D’WW amended <42 u.s.c. 405 <g)) ry tv '
864 SS!D /a\ll!l‘;l|:i»(ijr;§ for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
865 RSl All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.

r42 u.s.c. 405 (g))

 

CV-7'l (06/14) CiVlL COVER SHEET Page 3 of 3

 

